                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:06cr151

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                     ORDER
                                         )
GIUSEPPE PILEGGI, et al.                 )
________________________________________ )


       THIS MATTER is before the Court on Motion of the United States to consolidate Case

Number 3:06cr151 with Case Number 3:05cr400 (pending before the Hon. Frank D. Whitney).

(Doc. No. 30). No defendant arrested in this case has objected to the motion.

       The Court finds that the interests of justice will be served by one judicial official presiding

over both cases which are similar in nature and involve some of the same alleged victims.

       IT IS, THEREFORE, ORDERED that the Motion of the United States is GRANTED

and Case No. 3:06cr151 is hereby re-assigned to Judge Whitney.

       The Clerk is directed to certify copies of this Order to defendant, defense counsel, U.S.

Probation Office, U.S. Marshal Service, and the U.S. Attorney.

                                                   Signed: July 27, 2006




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